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                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                       ) CASE NO. 3:22-CR-426-JSC
                                                     )
16           Plaintiff,                              ) STIPULATION AND SECOND SUPPLEMENTAL
                                                     ) PROTECTIVE ORDER [PROPOSED]
17      v.                                           )
                                                     )
18   DAVID WAYNE DEPAPE,                             )
                                                     )
19           Defendant.                              )
                                                     )
20

21           With the agreement of the parties, the Court enters the following Second Supplemental
22 Protective Order:

23           The defendant is charged with violations of 18 U.S.C. § 1201(d), Attempted Kidnapping of a
24 Federal Officer or Employee, and 18 U.S.C. § 115(a)(1)(A), Assault of an Immediate Family Member of

25 a Federal Official. The defendant seeks to access and inspect the home of Congresswoman Nancy

26 Pelosi and her husband Paul Pelosi (“Pelosi Home”). The Pelosis have agreed voluntarily to permit the

27 government and the defense team to access and inspect their home pursuant to a protective order.

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 1           All information associated with and procured during the government and defense team visit to

 2 the Pelosi Home, including the date and parameters of the visit, will be referred to as “Visit

 3 Information.” The United States will identify discovery materials as Visit Information by marking such

 4 materials “CONFIDENTIAL—SUBJECT TO SECOND SUPPLEMENTAL PROTECTIVE ORDER”

 5 or by providing written notice specifically identifying discovery materials as Visit Information. The

 6 government shall exercise reasonable care in its designation of Visit Information.

 7           To ensure that Visit Information, including Visit Information in the sole possession of defense

 8 counsel, their investigators, assistants, employees, and independent contractors (collectively, “the

 9 Defense Team”), is not subject to unauthorized disclosure or misuse,

10           IT IS HEREBY ORDERED that the Defense Team shall not directly provide the defendant

11 with copies of, or permit defendant to make copies of, or have unsupervised access to, any Visit

12 Information, including discovery material produced by the government that contains Visit Information,

13 unless the Visit Information has first been entirely redacted from the discovery materials. The

14 government and defense counsel are ordered to work together to ensure that these materials are

15 protected, but that defendant has as much access to the materials as can be provided consistent with this

16 Court’s order.

17           The Defense Team may show witnesses Visit Information in the course of preparing a defense

18 for trial or any related proceedings in this case, but only if (i) the witness, by reason of their participation
19 in the underlying events or conduct, would have seen or had reason to know such information, or (ii) it

20 is otherwise relevant to the defense of the case that the Defense Team discuss with or show the witness

21 Visit Information. Witnesses may only view Visit Information in the presence of the Defense Team.

22 No witness or potential witness may retain copies of Visit Information or discovery material that

23 contains Visit Information after his or her review of those materials with the Defense Team is complete.

24           Defense counsel may also provide unredacted copies of Visit Information to any experts retained

25 to assist with the preparation of the defense in the captioned case. The defendant, all members of the

26 Defense Team, and any experts who receive Visit Information under this Order shall be provided a copy

27 of this Order along with those materials and shall sign and date the order reflecting their agreement to be

28 bound by it.
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 1          The Defense Team shall maintain Visit Information safely and securely, and shall exercise

 2 reasonable care in ensuring the confidentiality of those materials by not divulging the contents or

 3 permitting anyone to see Visit Information except as set forth in this Second Supplemental Protective

 4 Order.

 5          The materials provided pursuant to this Second Supplemental Protective Order may only be used

 6 for the specific purpose of preparing or presenting a defense in this matter unless otherwise specifically

 7 authorized by the Court.

 8          This Order shall also apply to any copies or other reproductions, in any other medium, made of

 9 any materials covered by this Order.

10          IT IS FURTHER ORDERED that if a party files a pleading that contains or attaches Visit

11 Information subject to this Order, the Visit Information must be filed under seal (accompanied by a

12 request to file under seal) and redacted from the public filing, unless otherwise ordered by the Court.

13          IT IS FURTHER ORDERED that after any judgment or disposition has become final and there

14 are no pending proceedings, challenges, appeals, habeas or other motions in the case, counsel for the

15 defendant shall either destroy Visit Information and discovery materials containing Visit Information

16 (including any copies) within 30 days if the defendant consents to such destruction, or retain the Visit

17 Information and ensure that the Visit Information will continue being kept under the conditions specified

18 in this Order. After the statutory period for filing a motion under 28 U.S.C. § 2255 has expired, the
19 United States is free to destroy documents and materials subject to this Order. If defendant is

20 represented by counsel and files a motion pursuant to 28 U.S.C. § 2255, the United States will provide

21 counsel with the documents and materials subject to this Supplemental Protective Order under the terms

22 of this Order.

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 1          This stipulation is without prejudice to either party applying to the Court to modify the terms of

 2 this or any other protective order. This Court shall retain jurisdiction to modify this Order upon motion

 3 of either party even after the conclusion of district court proceedings in this case.

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 5     IT IS SO STIPULATED.                                  ISMAIL J. RAMSEY
                                                             United States Attorney
 6

 7
       Dated: August 9, 2023                                 __/s/___________________________________
 8
                                                             HELEN L. GILBERT
 9                                                           LAURA VARTAIN HORN
                                                             KYLE F. WALDINGER
10                                                           Assistant United States Attorney

11

12                                                           __/s/___________________________________
                                                             ANGELA CHUANG
13                                                           JODI LINKER
14                                                           Federal Public Defender
                                                             Assistant Federal Public Defender
15                                                           Counsel for Defendant David DePape

16

17     IT IS SO ORDERED.
18
19     Dated:                                                HON. JACQUELINE SCOTT CORLEY
20                                                           United States District Judge

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